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  15
                               UNITED STATES DISTRICT COURT
  16
                    CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  17
  18 Netflix Studios, LLC; Amazon Content    Case No. 2:18-CV-00230-MWF (AS)
     Services, LLC; Columbia Pictures
  19 Industries, Inc.; Disney Enterprises,   JOINT RULE 26(f) REPORT
     Inc.; Paramount Pictures Corporation;
  20 Twentieth Century Fox Film
     Corporation; Universal City Studios     Judge: Hon. Michael W. Fitzgerald
  21 Productions LLLP; Warner Bros.
     Entertainment Inc.
  22
                   Plaintiffs,
  23
            vs.
  24
     Dragon Media Inc. d/b/a Dragon Box;
  25 Paul Christoforo; Jeff Williams.
  26                   Defendants.
  27
  28   38792899.1
                                                                JOINT RULE 26(F) REPORT
                                                         CASE NO. 2:18-CV-00230 - MWF (AS)
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   1        Pursuant to Federal Rule of Civil Procedure 26(f) and this Court’s April 19,
   2 2018 Order (Dkt. No. 27), counsel for Plaintiffs and Defendants (jointly, the
   3 “Parties”) met and conferred on May 25, 2018, and hereby submit this Joint Rule
   4 26(f) Report to the Court in advance of the June 11, 2018 Scheduling Conference.
   5 A.     Statement of the Case
   6 Plaintiffs’ Statement:
   7        Defendants sell the “Dragon Box,” a device that Defendants market and
   8 promote to their customers as a tool for accessing copyrighted content for free on
   9 the Internet, thereby inducing the widespread infringement of Plaintiffs’ copyrighted
  10 movies and television shows. Defendants’ advertising and other public statements
  11 have been completely candid about Defendants’ unlawful objective. Until Plaintiffs
  12 filed this lawsuit, the home page of the Dragon Box website (and the websites of its
  13 affiliates) told customers they could “Watch your Favourites Anytime For FREE,”
  14 “Watch virtually every movie, Most in High Definition, TV Shows and Sports …
  15 and much more.” And Defendants promote Dragon Box as the means to “cut your
  16 cable & save money,” and encourage customers to “Get rid of your Premium
  17 Channels… [and] Stop paying for Netflix and Hulu.”
  18        The Dragon Box device and the software it runs on are designed, distributed,
  19 maintained, and promoted for wholly unauthorized and infringing use. Defendants
  20 provide their customers with, and encourage them to use, the Dragon Box device to
  21 access a tremendous number of copyrighted works streamed over the Internet.
  22 Defendants encourage their customers to use their “Dragon Media” software, which
  23 scours the Internet for sources of infringing content. The Dragon Box then delivers
  24 links to those sources to Defendants’ customers, who access infringing streams of
  25 Plaintiffs’ copyrighted content. The Supreme Court’s unanimous decision in Metro-
  26 Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913 (2005), makes it clear
  27 that where, as here, a defendant distributes a product “with the object of promoting
  28 its use to infringe copyright, as shown by clear expression or other affirmative steps
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   1 taken to foster infringement,” the defendant “is liable for the resulting acts of
   2 infringement by third parties.” Id. at 936-37. Defendants’ intent to promote,
   3 induce, and foster infringement is manifest.
   4 Defendant’s Statement:
   5         Defendants deny Plaintiffs’ allegations.
   6 B.      Subject Matter Jurisdiction
   7         The Court has original subject matter jurisdiction over Plaintiffs’ claims for
   8 copyright infringement pursuant 28 U.S.C. §§ 1331 and 1338(a) and 17 U.S.C.
   9 § 501(b).
  10 C.      Legal Issues
  11         The primary legal dispute is whether Defendants induce the infringement of
  12 Plaintiffs’ copyrighted works.
  13 D.      Parties, Evidence, etc.
  14         1.    Parties, including corporate parents
  15         The Court’s Scheduling Order asks the parties to “identify all subsidiaries,
  16 parents and affiliates.” For each of the Plaintiffs, this would be a voluminous list.
  17 Accordingly, Plaintiffs list below the publicly held companies that are their ultimate
  18 corporate parents.
  19         a) Plaintiff Netflix Studios, LLC is a wholly owned indirect subsidiary of
                Netflix, Inc., a publicly traded company;
  20
             b) Plaintiff Amazon Content Services, LLC is a wholly owned indirect
  21            subsidiary of Amazon.com Inc., a publicly traded company;
  22         c) Plaintiff Columbia Pictures Industries, Inc. is a wholly owned indirect
                subsidiary of Sony Corporation, a publicly traded company;
  23
  24         d) Plaintiff Disney Enterprises, Inc. is a wholly owned subsidiary of The
                Walt Disney Company, a publicly traded company;
  25
             e) Plaintiff Twentieth Century Fox Film Corporation is a wholly owned
  26            indirect subsidiary of Twenty-First Century Fox, Inc., a publicly traded
                company;
  27
               f) Plaintiff Paramount Pictures Corporation is a wholly owned subsidiary of
  28              Viacom Inc., a publicly traded company;
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   1            g) Plaintiff Universal City Studios Productions LLLP is a wholly owned
                   indirect subsidiary of Comcast Corporation, a publicly traded company;
   2
                h) Plaintiff Warner Bros. Entertainment Inc is a wholly owned indirect
   3               subsidiary of Time Warner Inc., a publicly traded company;
   4            i) Defendant Dragon Media Inc. d/b/a Dragon Box is privately owned.
   5            2.    Witnesses
   6            Based on information currently known, Plaintiffs anticipate that percipient
   7 witnesses may include owners and executives of Dragon Media Inc., including but
   8 not limited to Paul Christoforo.
   9            Plaintiffs anticipate presenting issues concerning copyright ownership and
  10 harm from Defendants’ activity through corporate representatives.
  11       Based on information currently know, Defendants anticipate that percipient
  12 witnesses may include owners, executives, employees, and/or agents of Netflix
  13 Studios, LLC; Netflix, Inc.; Amazon Content Services, LLC; Amazon.com Inc.;
  14 Columbia Pictures Industries, Inc.; Sony Corporation; Disney Enterprises, Inc.; The
  15 Walt Disney Company; Twentieth Century Fox Film Corporation; Twenty-First
  16 Century Fox, Inc.; Paramount Pictures Corporation; Viacom Inc.; Plaintiff Universal
  17 City Studios Productions LLLP; Comcast Corporation; Warner Bros. Entertainment
  18 Inc.; Time Warner Inc.; and other witnesses as they are discovered.
  19        3.   Key Documents
  20            Plaintiffs believe that key documents will include Defendants’ advertising and
  21 promotional materials, communications with actual and prospective customers,
  22 software development and maintenance documents, and internal business plan and
  23 strategy documents.
  24        Defendants believe that key documents will include Plaintiffs’ advertising and
  25 promotional materials, communications with actual and prospective customers,
  26 software development and maintenance documents, and internal business plan and
  27 strategy documents.
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   1 E.         Damages
   2            Plaintiffs seek damages under the Copyright Act. Pursuant to 17 U.S.C.
   3 § 504(a), Plaintiffs have the right to elect, at any time before final judgment is
   4 rendered, to recover either their actual damages or statutory damages. Plaintiffs
   5 have not yet made their damages election.
   6            Plaintiffs also seek attorneys’ fees and full costs incurred in this action
   7 pursuant to 17 U.S.C. § 505, and prejudgment interest according to law.
   8 F.         Insurance
   9            Defendants do not possess an insurance policy to cover these claims.
  10 G.         Motions
  11            Plaintiffs expect to bring a summary judgment motion on Defendants’
  12 liability.
  13 H.         Manual for Complex Litigation
  14            The Parties do not believe that this case would benefit from reference to the
  15 procedures set forth in the Manual for Complex Litigation.
  16 I.         Status of Discovery
  17            The Parties have not yet started serving formal discovery requests.
  18            Plaintiffs will serve formal discovery requests the week of May 28, 2018.
  19 J.         Discovery Plan
  20            Plaintiffs have proposed a fact discovery cut-off of October 16, 2018.
  21 Plaintiffs expect to serve written discovery requests related to the issue of
  22 Defendants’ liability and the willfulness of their conduct for purposes of the
  23 statutory damages available under 17 U.S.C. § 504(c). Plaintiffs anticipate taking
  24 the depositions of the executives of Dragon Media Inc. d/b/a Dragon Box. Plaintiffs
  25 also anticipate seeking third-party discovery from Defendants’ business partners.
  26            Defendants have proposed a fact discovery cut-off of December 14, 2018.
  27 Defendants expect to serve written discovery requests related to Plaintiffs claims
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   1 and alleged damages as well as Defendants’ denials and defenses. Defendants
   2 expect to take “PMQ” Depositions of Plaintiffs and third-parties as needed.
   3 K.      Discovery Cut-Off
   4         Plaintiffs propose a fact discovery cut-off of October 16, 2018. Because
   5 discovery has only just commenced, Plaintiffs must await the production of
   6 documents responsive to their requests. The discovery cut-off should include
   7 sufficient time for Plaintiffs (1) to review Defendants’ document production and
   8 written discovery responses, and (2) if necessary, to file any motion to compel and
   9 to receive any discovery ordered by any such motion.
  10         Defendants propose a fact discovery cut-off of December 14, 2018.
  11 Discovery has not yet commenced, and Defendants intend to propound written
  12 discovery. Such discovery will be essential to evaluating the claims of Plaintiffs and
  13 preparing for the retention of experts. Defendants are further optimistic that a
  14 settlement on the matter can be reached and believe that a discovery cutoff later than
  15 what Plaintiffs have suggested will facilitate the resolution of the matter.
  16 Defendants request the opportunity to participate in an E.N.E. or settlement
  17 conference earlier rather than later in the proceedings.
  18 L.      Expert Discovery
  19         Plaintiffs propose a date for initial expert witness disclosures of October 16,
  20 2018 and for rebuttal expert witness disclosures of November 5, 2018.
  21         Defendants propose a date for initial expert witness disclosures of December
  22 14, 2018, and for rebuttal expert witness disclosures of January 12, 2019.
  23 M.      Dispositive Motions
  24         Plaintiffs anticipate filing a motion for summary judgment on the issue of
  25 Defendants’ liability.
  26 N.      Settlement/Alternative Dispute Resolution
  27         The Parties are exploring whether settlement is possible and have exchanged
  28 draft documents. The Parties expect to advise the Court at the Rule 26(f)
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   1 Conference whether this case would benefit from a settlement conference or other
   2 form of early ADR.
   3 O.         Trial Estimate
   4            Plaintiffs demand a jury trial. Plaintiffs estimate a trial time of 5 to 8 Court
   5 days, depending on the number of issues that may be resolved on summary
   6 judgment.
   7 P.         Trial Counsel
   8            Lead trial counsel for Plaintiffs will be Kelly M. Klaus.
   9            Lead trial counsel for Defendants will be Matthew J. Faust.
  10 Q.         Independent Expert or Master
  11            The Parties do not believe this case calls for the appointment of an
  12 independent expert or master.
  13 R.         Timetable
  14            The Parties have set forth their respective position on a case timetable on the
  15 Court’s Scheduling Worksheet, which is attached as Exhibit A.
  16 S.         Other issues
  17            The Parties do not at this time have other issues to raise with the Court.
  18 DATED: May 25, 2018                       MUNGER, TOLLES & OLSON LLP
  19
  20
                                               By:        /s/ Kelly M. Klaus
  21
                                                   KELLY M. KLAUS
  22                                           Attorneys for Plaintiffs
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   1 DATED: May 25, 2018              SHARIF FAUST LAWYERS, LTD
   2
   3
                                      By:        /s/ Matthew J. Faust
   4
                                          MATTHEW J. FAUST
   5                                  Attorneys for Defendants
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   1                                FILER’S ATTESTATION
   2            I, Kelly M. Klaus, am the ECF user whose identification and password are
   3 being used to file this Joint Rule 26(f) Report. Pursuant to Civil Local Rule 5-
   4 4.3.4(a)(2)(i), I hereby attest that the other above-named signatory concurs in this
   5 filing.
   6
   7 DATED: May 25, 2018                       By:       /s/ Kelly M. Klaus
                                                       KELLY M. KLAUS
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